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                           UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

 CERTIFIED ROSES, INC.,                       §
 502 SCENIC DRIVE, LLC,                       §
 Individually and on Behalf of                §
 all Others Similarly Situated,               §
                                              §
        Plaintiffs,                           §                       CASE NO. 2:21-cv-133
                                              §
 v.                                           §
                                              §
 SYMMETRY ENERGY                              §
 SOLUTIONS, LLC,                              §
                                              §                 JURY TRIAL DEMANDED
        Defendant.                            §

            PLAINTIFFS’ FIRST AMENDED CLASS ACTION COMPLAINT

       Plaintiffs Certified Roses, Inc. and 502 Scenic Drive, LLC, Individually and on Behalf of

all Others Similarly Situated, by and through the undersigned counsel, bring this class action

against Defendant Symmetry Energy Solutions, LLC. Plaintiffs make the following allegations

pursuant to the investigation of counsel and based upon information and belief, except as to the

allegations specifically pertaining to Certified Roses and 502 Scenic Drive, which are based on

personal knowledge.

                                  NATURE OF THE ACTION

       1.     This is a class action on behalf of all Symmetry customers who were charged

excessive prices and costs for natural gas during and because of Winter Storm Uri of February

2021 (the “winter storm”). Symmetry supplied natural gas and wrongfully passed on certain costs

to customers. Symmetry saw an opportunity for profit, bypassed its contractual obligations, and

took advantage of customers during a vulnerable time.
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       2.      Symmetry charged Certified Roses $248,943.48 for its gas use in February 2021,

27 times more than its February 2020 bill. Symmetry charged 502 Scenic Drive $17,004.03 for its

gas use in February 2021, 7 times more than its February 2020 bill. Symmetry substantially harmed

Certified Roses, 502 Scenic Drive, and the proposed class by charging excessive prices and costs

for natural gas during and because of a disaster.

                                         THE PARTIES

       3.      Plaintiff Certified Roses, Inc. is incorporated in Texas with its principal place of

business located at 10126 United States Highway 69 North, Tyler, Smith County, Texas 75706.

Certified Roses also includes its agents, representatives, assignees, and employees.

       4.      Plaintiff 502 Scenic Drive, LLC is registered in Texas with its principal place of

business located at 707 North Green Street, Longview, Gregg County, Texas 75601. 502 Scenic

Drive also includes its agents, representatives, assignees, and employees.

       5.      Defendant Symmetry Energy Solutions, LLC is a Delaware limited liability

company with its principal place of business located at 1111 Louisiana Street, Houston, Texas

77002. Symmetry maintains a registered agent, CT Corporation System, who can be served at 1999

Bryan Street, Suite 900, Dallas, Texas 75201. Symmetry may be served via its counsel indicated

on the waiver of service filed with the Court. Symmetry also includes its agents, representatives,

assignees, and employees and includes the same for its predecessor and successor entities.

                                JURISDICTION AND VENUE

       6.      This Court has subject matter jurisdiction over this action, pursuant to 28 U.S.C.

§1332(d)(2), because this is a class action in which at least one member of each class is a citizen

of a state different from Defendant, the amount in controversy exceeds $5 million exclusive of

interest and costs, and each of the proposed classes contains more than 100 members.



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        7.       This Court has personal jurisdiction over Symmetry Energy Solutions, LLC

because its principal place of business is in Texas. At all relevant times, Symmetry purposefully

availed itself of the benefits and protections of Texas by continuously and systematically

conducting business so substantial as to render it at home there. Symmetry markets and sells

natural gas and transacts business in and directed towards Texas. Symmetry maintains a

headquarters and is registered in Texas.

        8.       Pursuant to 28 U.S.C. § 1391, venue is proper because a substantial part of the

events or omissions giving rise to the alleged claims occurred or originated in this District.

                                     FACTUAL BACKGROUND

        9.       Certified Roses contracted with Symmetry to provide natural gas for its business in

Tyler, Texas. Ex. A, Gas Sales Agreement and Transaction Confirmation.1 Certified Roses is an

award-winning harvester and wholesaler of roses. Before the roses are shipped to customers

around the world, the roses are grown and stored at its facility in Tyler, Texas.

        10.      502 Scenic Drive contracted with Symmetry to provide natural gas for its apartment

complex in Longview, Texas. Ex. B, Gas Sales Agreement and Transaction Confirmation.2

        11.      Symmetry is an energy supplier that provides natural gas to over 100,000 residential

and commercial customers in over 30 states.3

        12.      Certified Roses agreed to an index price contract with Symmetry back in 2015 and

the contract terms were automatically renewed yearly. Ex. A, p. 6. 502 Scenic Drive also agreed

to an index price contract with Symmetry in 2019 with similar terms. Ex. B, p. 6.




1
  Certified Roses’s contract was with CenterPoint Energy Services, Inc. Symmetry was formally known as
CenterPoint Energy Service, Inc.
2
  502 Scenic Drive’s contract was with CenterPoint Energy Services, Inc. Symmetry was formally known as
CenterPoint Energy Service, Inc.
3
  About Us, https://symmetryenergy.com/

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        13.      The Inside FERC’s Gas Market Report was to be used to calculate the price for

natural gas obtained by Certified Roses and 502 Scenic Drive. Ex. A, p. 6; Ex. B, p. 6.

        14.      In February 2021, years after first entering the contract, Winter Storm Uri wreaked

havoc in Texas and other states. Throughout the United States, 5 million people experienced power

outages.4 The winter storm began on February 11, 2021 and ended on February 19, 2021. The

winter storm brought cold weather, including sub-freezing temperatures, snow, and ice, to a region

ill-equipped to handle such conditions.

        15.      On February 12, 2021, Governor Greg Abbott declared a state of disaster in all

Texas counties due to the winter weather. Ex. C, Proclamation. President Joseph R. Biden, Jr. later

approved an emergency declaration for the same.5 Texas had an additional disaster declaration in

place at the time for the novel coronavirus.6

        16.      With the freezing temperatures, people tried to heat their homes and businesses,

causing the energy demand to increase significantly. In turn, there was also an increase in demand

for the purchase of natural gas to service the needs of customers. Natural gas is a utility that serves

critical human needs. Texas largely relies on natural gas for power and heat generation.

        17.      At the same time, well-head freeze offs occurred, and natural gas processing plants

and pipelines failed, reducing the gas supply and limiting the ability to distribute and deliver gas.

        18.      During the week of the winter storm, the next-day natural gas market produced

historically high prices. Overall, the natural gas market experienced a significant disruption as

demand increased, supply decreased, and prices rose.


4
  Brian K. Sullivan and Naureen S. Malik, 5 Million Americans have Lost Power from Texas to North Dakota after
Devastating Winter Storm (Feb. 15, 2021, 11:02 p.m.), https://time.com/5939633/texas-power-outage-blackouts/
5
  President Joseph R. Biden, Jr. Approves Texas Disaster Declaration (Feb. 20, 2021),
https://www.whitehouse.gov/briefing-room/statements-releases/2021/02/20/president-joseph-r-biden-jr-approves-
texas-disaster-declaration/
6
  Governor Abbott Extends COVID-19 Disaster Declaration – February 2021 (Feb. 4, 2021, 10:05 a.m.),
https://gov.texas.gov/news/post/governor-abbott-extends-covid-19-disaster-declaration-february-2021

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        19.     Around February 12, 2021, in anticipation of the market disruption, Symmetry told

customers to expect substantial increases in market prices when consuming natural gas.

        20.     On March 15, 2021, a month after the winter storm ended, Symmetry said to

customers: “The February invoice will, where applicable, include separate line items for the

additional costs to supply your natural gas during Winter Storm Uri, including any applicable

penalties assessed, to date, by the pipelines or LDCs [local distribution companies].”7

        21.     On March 16, 2021, Certified Roses and 502 Scenic Drive received Symmetry’s

February 2021 invoice. Certified Roses’s invoice included a line-item amount for “Incremental

Supply Costs” of $233,494.59. Ex. D, February 2021 Invoice. 502 Scenic Drive’s invoice included

a line-item amount for “Incremental Supply Costs” of $13,234.20. Ex. E, February 2021 Invoice.

Symmetry passed on the supply costs it incurred when purchasing natural gas to meet demand

during the winter storm. Symmetry did not have adequate amount of natural gas on hand, so, to

meet customers’ needs, it secured gas, but incurred penalties associated with curtailment.

        22.     The contracts between Certified Roses and 502 Scenic Drive and Symmetry do not

mention or define “Incremental Supply Costs.” Symmetry could not provide further clarity except

for a breakdown of the “Incremental Supply Costs” incurred from February 10 to 22, 2021

requested by Certified Roses. Ex. F, February 2021 Incremental Supply Cost Detail.

        23.     Symmetry withdrew $17,004.02 from 502 Scenic Drive’s account per the invoice.

        24.     Symmetry has treated Certified Roses, 502 Scenic Drive, and the class members

unlawfully when it passed on its natural gas supply costs and charged certain prices and costs in

breach of its contract.



7
 Symmetry Customer Letter (March 15, 2021), https://february21winterstormuri.symmetryenergy.com/wp-
content/uploads/2021/03/3.15.21-Customer-Letter.pdf; Symmetry Energy Solutions Provides Information on Winter
Storm Uri and February 2021 Billing Cycle, https://february21winterstormuri.symmetryenergy.com/

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                                     CLASS ALLEGATIONS

       25.     Pursuant to Federal Rules of Civil Procedure 23(a), 23(b)(1)-(3), and/or 23(c)(4)-

(5), Certified Roses and 502 Scenic Drive, on behalf of itself and all others similarly situated, bring

this class action, and seek to represent:

       Nationwide Class
       All persons or entities who purchased or obtained natural gas services from Symmetry
       and were charged and/or paid excessive and/or exorbitant natural gas prices and costs
       during and because of Winter Storm Uri of February 2021.

       26.     In the event the Court declines to certify the Nationwide Classes, Certified Roses

and 502 Scenic Drive, on behalf of itself and all others similarly situated, seek to represent:

       Texas Class
       All persons or entities who purchased or obtained natural gas services in Texas from
       Symmetry and were charged and/or paid excessive and/or exorbitant natural gas prices
       and costs during and because of Winter Storm Uri of February 2021.

       27.     Excluded from each Class is Symmetry, any entities in which Symmetry has a

controlling interest, any of Symmetry’s officers, directors, or employees, any of Symmetry’s legal

representatives, heirs, successors, and assigns, anyone employed with Plaintiffs’ counsels’ firms,

and any Judge to whom this case is assigned and his or her immediate family.

       28.     Numerosity. Each Class is so numerous that joinder of all members is

impracticable. While the exact number of Class Members is information not readily available at

this time, as only Symmetry possesses the data to determine the number of customers who

experienced excessive natural gas prices and costs during and because of the winter storm,

Plaintiffs have reasonable belief that there are thousands of potential Class Members. Symmetry

has 100,000 customers in over 30 states and many states were impacted by the winter storm.

       29.     Typicality. Certified Roses’s and 502 Scenic Drive’s claims are typical of the

claims of Class Members they seek to represent because Certified Roses, 502 Scenic Drive, and



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all Class Members were customers of Symmetry and incurred excessive and/or exorbitant natural

gas prices and costs during and because of the winter storm.

       30.     Adequacy. Plaintiffs have retained counsel experienced in complex class action

and consumer protection litigation. Certified Roses and 502 Scenic Drive have no interests that

are averse to or in conflict with other Class Members and will fully and adequately protect the

interests of all Class Members.

       31.     Commonality. The questions of law and fact common to Class Members

predominate over any questions that may affect only individual members, namely whether:

Symmetry breached its contracts with customers when charging excessive natural gas prices and

costs; Symmetry engaged in price gouging by charging excessive natural gas prices and costs to

customers; Symmetry engaged in false, deceptive, and misleading acts and practices; Symmetry

acted unconscionably; Symmetry negligently misrepresented its services offered and provided to

customers; Symmetry acted negligently when failing to monitor and prevent excessive natural gas

prices and costs charged to customers; Symmetry committed a breach of contract, violation under

Texas’s Deceptive Trade Practices Act, negligent misrepresentation, and/or negligence; Certified

Roses, 502 Scenic Drive, and Class Members were harmed; and Symmetry should be subject to

an injunction, declaratory judgment, and statutory and other damages.

       32.     Superiority. A class action is superior to other available methods for the fair and

efficient adjudication of this controversy since joinder of all Class Members is impracticable. The

prosecution of separate actions by individual Class Members would impose a heavy burden upon

the courts and would create a risk of inconsistent or varying adjudications of the questions of law

and fact common to each Class. A class action would achieve substantial economies of time, effort,




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and expense and would assure uniformity of decision with respect to persons similarly situated,

without sacrificing procedural fairness or bringing about other undesirable results.

       33.     Class Members’ interest in individually controlling the prosecution of separate

actions is theoretical rather than practical. Each Class is cohesive, and prosecution of the action

through representatives would be unobjectionable. The damages suffered by each Class are

uniform and generally formulaic, and the expense and burden of individual litigation could

preclude them from fair redressal of the wrongs done to them. Plaintiffs anticipate no difficulty in

the management of this action as a class action.

                               COUNT I: BREACH OF CONTRACT

       34.     The preceding paragraphs are incorporated by reference as if fully alleged herein.

       35.     Certified Roses and 502 Scenic Drive have valid, enforceable contracts, the Gas

Sales Agreement and Transaction Confirmation, with Symmetry. Ex. A; Ex. B. Certified Roses

and 502 Scenic Drive are signatories on the contracts and therefore, are proper parties to the

contracts. Certified Roses and 502 Scenic Drive were reliable Symmetry customers and performed

any contractual obligations.

       36.     Symmetry breached its contracts with Certified Roses and 502 Scenic Drive.

       37.     Symmetry claimed Certified Roses owed $248,943.48 for its February 2021 natural

gas usage. Ex. D. Symmetry billed $3.07 per MMBtu for 3,849 MMBtus of natural gas used. Id.

       38.     Symmetry claimed 502 Scenic Drive owed $17,004.02 for its February 2021 natural

gas usage. Ex. E. Symmetry billed $3.07 per MMBtu for 837 MMBtus of natural gas used. Id.

       39.     Symmetry also charged Certified Roses $233,494.59 and 502 Scenic Drive

$13,234.20 in “Incremental Supply Costs.” Ex. D; Ex. E. The contracts do not mention or define




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“Incremental Supply Costs.” Symmetry has not offered an adequate explanation for any of the

charges within the February 2021 invoice.

       40.     Symmetry’s contractual breaches caused injuries to Certified Roses and 502 Scenic

Drive. Certified Roses and 502 Scenic Drive suffered monetary losses and their injuries were a

natural, probable, and foreseeable consequence of Symmetry’s breaches.

       41.     Symmetry withdrew $17,004.02 from 502 Scenic Drive’s account per the invoice.

       42.     Certified Roses, 502 Scenic Drive, and Class Members seek contractual damages

and any attorney fees, costs, and interest.

     COUNT II: VIOLATION OF TEXAS DECEPTIVE TRADE PRACTICES ACT

       43.     The preceding paragraphs are incorporated by reference as if fully alleged herein.

       44.     Symmetry acted knowingly and intentionally when violating Texas’s Deceptive

Trade Practices Act, Chapter 17 of the Texas Business and Commerce Code (“DTPA”).

       45.     The DTPA prohibits “false, misleading, or deceptive acts or practices in the conduct

of any trade or commerce . . ..” Tex. Bus. & Com. Code § 17.46(a).

       46.     DTPA §§ 17.46(b)(2), (5), (7), (9), and (12) prohibit Symmetry from: causing

confusion as to the source of services; representing services have characteristics, uses, benefits or

quantities that they do not have; representing services are of a particular standard if they are of

another; advertising services with the intent not to sell as advertised; and representing an

agreement confers rights, remedies, or obligation that it does not have.

       47.     Symmetry represented and led Certified Roses, 502 Scenic Drive, and Class

Members to believe its natural gas service plans reflected its local market expertise. The plans

would meet their budgetary needs, offer competitive pricing, and reflect a reasonable price and

cost range, i.e., not be subject to severe fluctuations. Symmetry, through its advertising and



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 marketing, misled Certified Roses, 502 Scenic Drive, and Class Members when it failed to disclose

 the true risks of its plans that passed through excessive natural gas supply prices and costs. Instead,

 Symmetry charged customers inflated and excessive prices and costs during and because of the

 winter storm.

        48.      Symmetry was well-aware the exposure of Certified Roses, 502 Scenic Drive, and

 Class Members could radically increase when the natural gas market faced inclement weather and

 curtailment. In such an event, Symmetry knew it would pass on the costs to customers with no

 explanation. Rather than relay the truth and be transparent, Symmetry chose to downplay the plans’

 risk at the expense of customers. Ultimately, Certified Roses, 502 Scenic Drive, and Class

 Members were unable to ascertain the extent to which they would bear the brunt of the natural gas

 price and cost inflation.

        49.      DTPA § 17.46(b)(24) prohibits failing to disclose information concerning a

 service, which was known at the time of the transaction, if intended to induce the consumer into a

 transaction into which the consumer would not have entered.

        50.      To acquire customers, Symmetry advertised and marketed its natural gas service

 plans as offering competitive pricing to meet customers’ budgetary needs. Had they understood

 Symmetry’s pricing scheme and the possibility of inflated and excessive prices and costs, Certified

 Roses, 502 Scenic Drive, and Class Members would not have agreed to Symmetry’s services.

        51.      DTPA § 17.46(b)(27) disallows price gouging during a disaster. It prohibits taking

 advantage of a disaster, as declared under Chapter 418 of the Texas Government Code, by:

        (A) selling or leasing fuel, food, medicine, lodging, building materials, construction
        tools, or another necessity at an exorbitant or excessive price; or
        (B) demanding an exorbitant or excessive price in connection with the sale or lease
        of fuel, food, medicine, lodging, building materials, construction tools, or another
        necessity;



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 Tex. Bus. & Com. Code § 17.46(b)(27).

        52.     Symmetry price gouged customers when it excessively raised natural gas prices and

 costs. Certified Roses, 502 Scenic Drive, and Class Members did not anticipate such increases to

 their natural gas services. They relied on Symmetry’s natural gas supply to their detriment,

 particularly amidst an unprecedented winter storm.

        53.     Symmetry’s unlawful conduct and its excessive natural gas prices and costs were a

 producing cause of damages to Certified Roses, 502 Scenic Drive, and Class Members.

        54.     Lastly, Symmetry’s charging of excessive natural gas prices and costs is

 unconscionable. An unconscionable act “takes advantage of the lack of knowledge, ability,

 experience, or capacity of the consumer to a grossly unfair degree.” Tex. Bus. & Com. Code §

 17.45(5). Symmetry engaged in a predatory tactic by passing on natural gas prices and costs to

 customers. Certified Roses, 502 Scenic Drive, and Class Members could not appreciate the extent

 of Symmetry’s tactic and its impact on them. Symmetry took advantage of this lack of knowledge

 to a grossly unfair degree when offering and selling its plans to customers. Symmetry’s

 unconscionable acts were a producing cause of damages.

        55.     Certified Roses, 502 Scenic Drive, and Class Members seek statutory damages and

 any attorney fees, costs, and interest.

                      COUNT III: NEGLIGENT MISREPRESENTATION

        56.     The preceding paragraphs are incorporated by reference as if fully alleged herein.

        57.     Symmetry made several representations to Certified Roses, 502 Scenic Drive, and

 Class Members relating to their natural gas services and while obtaining their business.

        58.     Symmetry represented its natural gas service plans reflected its local market

 expertise. The plans would meet their customers’ budgetary needs, offer competitive pricing, and



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 reflect a reasonable price and cost range, i.e., not be subject to severe fluctuations. The services

 would entail index pricing based off the Inside FERC’s Gas Market Report and limited Utility

 Transportation pass-through costs and other fees and taxes, all of which would reflect a reasonable

 range of price and cost differences to customers from month to month.

        59.     Symmetry had a pecuniary interest in making such representations, as it sought to

 attract customers to a trustworthy and dependable service provider and plan.

        60.      Symmetry’s representations proved to be false. Yet, it supplied such information

 to guide Certified Roses, 502 Scenic Drive, and Class Members. In its February 2021 invoice to

 Certified Roses, Symmetry charged Certified Roses $248,943.48 of which $233,494.59 were

 “Incremental Supply Costs.” Ex. D. Symmetry charged 502 Scenic Drive $17,004.02 of which

 $13,234.20 were “Incremental Supply Costs.” Ex. E.

        61.     These charges exemplify Symmetry’s misrepresentation to Certified Roses and 502

 Scenic Drive. If, in February 2021, Symmetry had applied its local market expertise and offered

 competitive pricing that reflected a reasonable price and cost range, then Certified Roses would

 not be made to pay for natural gas that exceeded last year’s invoice by approximately $238,800.00.

 Likewise, 502 Scenic Drive would not be made to pay $14,595.83 more than its invoice last year.

        62.     Additionally, Symmetry failed to disclose the extent of risk associated with its

 plans. If its plans could result in an outrageous price increase from the previous year or from month

 to month, Symmetry should have disclosed the possibility of such an outcome to Certified Roses,

 502 Scenic Drive, and Class Members.

        63.     Symmetry did not exercise reasonable care or competence when communicating to

 customers. The information given to them was grossly inadequate to ascertain the services and




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 risks. Furthermore, their communication to Certified Roses, 502 Scenic Drive, and Class Members

 during and after the winter storm perpetuated the falsities.

         64.     Certified Roses, 502 Scenic Drive, and Class Members justifiably relied on the

 representations made by Symmetry, and Symmetry’s negligent misrepresentations proximately

 caused them injury. In the case of 502 Scenic Drive, Symmetry withdrew a payment of $17,004.02.

 Certified Rose and Class Members seek actual and exemplary damages, costs, and interest.

                                      COUNT IV: NEGLIGENCE

         65.     The preceding paragraphs are incorporated by reference as if fully alleged herein.

         66.     Symmetry has a duty to apply a level of care commensurate with the foreseeable

 harm arising from its control and management of its natural gas services. This encompasses a duty

 to ensure, especially during a disaster, natural gas is not sold via Symmetry at excessive prices and

 costs to Certified Roses, 502 Scenic Drive, and Class Members.

         67.     As the winter storm disaster emerged in February 2021, it was foreseeable to

 Symmetry and the energy sector that natural gas prices and costs would be excessively inflated.8

 As early as February 12, 2021, in anticipation of the market disruption, Symmetry told customers

 to expect substantial increases in market prices when consuming natural gas.

         68.     Symmetry had the ability, capacity, and contractual right to prevent charging

 customers excessive prices and costs during the disaster. Symmetry controlled its services and

 platform and oversaw pricing and contracting and may alter its natural gas pricing.

         69.     Symmetry did not exercise ordinary care and comply with existing standards of

 care when it charged customers excessive natural gas bills and failed to properly detect and react

 to the natural gas market disruption and price and cost increases.


 8
  Andrew Freedman, Meteorologists for Texas Grid Operator Warned of the Winter Storm’s Severity (February 19,
 2021, at 3:51 p.m.), https://www.washingtonpost.com/weather/2021/02/19/texas-cold-early-warning/

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        70.     Given the foreseeability of excessive prices and costs during the winter storm, a

 reasonable natural gas provider in Symmetry’s position would have implemented measures to

 prevent customers from being charged excessive prices and costs and taken aggressive steps to

 prevent it. Symmetry did not do so, and instead, responded in an ineffective manner.

        71.     Symmetry’s negligence proximately caused damage to Certified Roses, 502 Scenic

 Drive, and Class Members. Had Symmetry exercised reasonable care, Certified Roses, 502 Scenic

 Drive, and Class Members would not incur excessive prices and costs for natural gas purchased

 from Symmetry. Certified Roses, 502 Scenic Drive, and Class Members are entitled to actual

 damages, costs, and interest.

                  COUNT V: INJUCTIVE AND DECLARATORY RELIEF

        72.     The preceding paragraphs are incorporated by reference as if fully alleged herein.

        73.     An actual controversy has arisen and now exists between Certified Roses, 502

 Scenic Drive, and Class Members, on the one hand, and Symmetry, on the other, concerning prices

 and costs charged for natural gas during and because of the winter storm.

        74.     Plaintiffs contend Symmetry charged customers excessive prices during the winter

 storm and acted unconscionably. Therefore, Certified Roses and 502 Scenic Drive request the

 Court declare Symmetry’s conduct unlawful and in breach of its contracts with Certified Roses

 and Class Members to prevent future controversies that would allow for continued injustices such

 as the present one, where an essential service provider took advantage of customers and consumers.

        75.     Plaintiffs further seek an injunction enjoining Symmetry from (1) any engagement

 in the unlawful conduct of charging customers excessive prices and costs during and because of

 the winter storm; (2) from billing and collecting payments from customers charged with excessive

 prices and costs during and because of the winter storm and ordering Symmetry to fully forgive



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 any late or non-payments associated with such bills, including removing any negative credit

 reporting and penalties, and to refund any payments already made on such bills; and (3) from

 disconnecting natural gas services due to non-payment of a bill charging excessive prices and costs

 during and because of the winter storm.

                                        PRAYER FOR RELIEF

        WHEREFORE, Certified Roses and 502 Scenic Drive, individually and on behalf of all

 others similarly situated, request relief and judgment against Symmetry as follows:

        a. Certification of the proposed Classes: Nationwide Class and Texas Class.

        b. Appointment of the undersigned as counsel for the proposed Classes;

        c. For a judgment against Symmetry for the causes of action alleged against it;

        d. For all available damages in an amount to be proven at trial;

        e. For a declaration that Symmetry’s conduct as alleged herein is unlawful and in breach

            of its contract with Certified Roses, 502 Scenic Drive, and Class Members;

        f. Imposition of a constructive trust, an order granting restitution, injunctive relief, and

            other such equitable relief the Court deems just and proper;

        g. For all available actual, statutory, and treble damages;

        h. For exemplary and punitive damages;

        i. For pre-judgment and post-judgment interest at the maximum rate permitted by law;

        j. For Plaintiffs’ reasonable attorneys’ fees, costs, and expenses; and

        k. For such other relief in law or equity as the Court deems just and proper.

                                   DEMAND FOR JURY TRIAL

 Plaintiffs hereby demand a trial by jury on all issues so triable.




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                                                Respectfully submitted,

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